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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            HELENA DIVISION


UNITED STATES OF AMERICA,                      CR 21-04-H-BMM

              Plaintiff,

    vs.                                        FINAL ORDER OF FORFEITURE

JOHN RUSSELL HOWALD,

              Defendant.


      THIS MATTER comes before the Court on the United States’ Motion for a

Final Order of Forfeiture. Having reviewed said motion, the Court finds:

      1.      The United States commenced this action pursuant to 18 U.S.C. §

924(d) and Rule 32.2, Federal Rules of Criminal Procedure.

      2.      A Preliminary Order of Forfeiture was entered on March 20, 2023.

(Doc. 151).

      3.      All known interested parties were provided an opportunity to respond

and publication has been effected as required by 21 U.S.C. § 853(n)(1). (Doc. 158,

158-1).

      4.      It appears there is cause to issue a forfeiture order under 18 U.S.C.

§ 924(d) and Rule 32.2, Federal Rules of Criminal Procedure.




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      IT IS ORDERED:

      THAT the Motion for Final Order of Forfeiture is GRANTED;

      THAT judgment of forfeiture of the property identified in Attachment A

shall enter in favor of the United States pursuant to 18 U.S.C. § 924(d) and Rule

32.2, Federal Rules of Criminal Procedure, free from the claims of any other party.

      THAT the United States shall have full and legal title to the forfeited

property and may dispose of it in accordance with law.

      DATED this _____
                  12th day of June, 2023.


                                       _______________________________
                                       Brian Morris, Chief Judge
                                       United States District Court




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             ATTACHMENT A – ITEMS SUBJECT TO FORFEITURE
                       D. Mont. CR 21-04-H-BMM

• Government Exhibit 1 – Four (4) 7.62x39mm cartridge cases recovered on
  March 22, 2020.

• Government Exhibit 2 – Seven (7) 7.62x39mm cartridge cases recovered on
  March 22, 2020.

• Government Exhibit 3 – Two (2) rounds of 7.62x39mm ammunition recovered
  on March 22, 2020.

• Government Exhibit 4 – One (1) fired bullet recovered on March 22, 2020.

• Government Exhibit 6 – Two (2) rifle magazines recovered on March 24, 2020.

• Government Exhibit 7 – Forty-two (42) rounds of 5.56 caliber ammunition
  recovered on March 24, 2020.

• Government Exhibit 8 –Smith & Wesson Model 657, .41 Remington Magnum
  caliber revolver (SN ANN1115) recovered on March 24, 2020.

• Government Exhibit 9 – Springfield Armory HS Produkt Model XD-S, .45
  ACP caliber pistol (SN XS589025) recovered on March 23, 2020.

• Government Exhibit 10 –Fourteen (14) rounds of .45 caliber ammunition
  recovered on March 23, 2020.

• Government Exhibit 11 – AK style 7.62x39mm caliber rifle (SN 1983S-
  AT4293) recovered on April 8, 2020.

• Government Exhibit 12 – One (1) round of 7.62x39 mm ammunition recovered
  on April 8, 2020.

• Government Exhibit 13—Two (2) rifle magazines recovered on April 8, 2020.

• Government Exhibit 14 – Thirty (30) rounds of 7.62x39mm ammunition
  recovered on April 8, 2020.

• Government Exhibit 15 –Mossberg Model 100 ATR, 30-06 caliber rifle (SN
  BA328083) recovered on April 8, 2020.



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• Government Exhibit 16 – Four (4) rounds of 30-06 ammunition recovered on
  April 8, 2020.

• Government Exhibit 17 –Assorted ammunition recovered on April 8, 2020.

• Government Exhibit 18 – Two holsters and one magazine recovered on March
  23rd and 24th, 2020.




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